Case 17-11452-reg Doc 21 Filed 03/29/18 Page 1 of 18

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INDIANA

FORT WAYNE DIVISION
IN RE:
Kyle E Slater CASE NO. l7-11452-reg
CHAPTER 7
Debtor

MOTION FOR ORDER AUTHORIZING
ABANDONMENT AND MODIFYING AUTOMATIC STAY

Comes now Wells Fargo Bank, N.A., ("Creditor"), by and through its attorney, Codilis Law, LLC, and in support of

its Motion for Order Authorizing Abandonment and Modifying Automatic Stay, states as follows:

l.

2.

The Creditor is the holder of a mortgage on the property located at 403 E lst St, South Whitley, fN 46787.
The Creditor holds a security interest in said property by way of written instruments, which were perfected
as provided by law. True and exact copies of said instruments, with proof of perfection, are attached hereto
and made a part hereof.

Debtor(s) executed a promissory note secured by a mortgage or deed of trust. The promissory note is either
made payable to Creditor or has been duly indorsed. Creditor, directly or through an agent, has possession
of the promissory note. Creditor is the original mortgagee or beneficiary or the assignee of the mortgage or
deed of trust.

As of March 22, 2018 the unpaid principal balance is $64,547.02, the accrued interest is $1,627.37, and the
interest rate is 4.50000% per annum.

The real estate is valued at $70,800.00 on the bankruptcy schedules.

The debtor claims an exemption of $19,300.00 with respect to the subject property.

'I`here is no equity in the real estate and it is not needed for an effective reorganization The automatic stay
should be modified pursuant to ll U.S.C. §362(d)(2_).

Said property is of inconsequential value and benefit to the estate and should be abandoned from the

bankruptcy estate pursuant to ll U.S.C. §554(b).

WHEREFORE, this Creditor requests that:

l.

The Automatic Stay of this proceeding be terminated as to this Creditor, its agents, successors and assigns.

2. The subject property be abandoned from the bankruptcy estate.

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3. That the Court waive the fourteen day stay of the Order granting this motion, pursuant to Bankruptcy Rule
4001(a)(3); and

4. For any and all other just and proper relief that the Court sees fit.

Attorneys for Creditor

By: Mik~i irwii .

Micha 1J.Ku1ak 21347-53
Codili Law, LLC
Auy File: 1029473

This firm is deemed to be a debt collector.

CERTIFICATE OF SERVICE

 

I certify that on 3 " Zq' Z»Ol? , a copy of the attached was filed electronically. Notice of this filing will be
sent to the following parties through the Court's Electronic Case Filing System. Parties may access this filing

through the Court's system.

Jefi`rey S. Arnold;jsarnoldlaw@jeffarnoldlaw.com
Martin E. Seifert; mseif`erttrustee@hallercolvin.com
United States Trustee, N.D., IN; ustpregionlO.so.ecf`@usdoj.gov

I further certify that on 3 - 13 - wm , a copy of the attached was mailed by depositing in the U.S. Mail to
the following:
Kyle E Slater

403 East First Street
South Whitley, IN 46787

Attomeys for Creditor

By= iil\ gil hud

Mi¢hael@.l<mak 21347-53

Codilis Law, LLC

8050 Cleveland Place
Merri|lville, IN 46410
(219) 736-5579
bankruptcy@codilis.com
Atty File: 1029473

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ll' 1h9F_9_ 14S` 97 4S1JFP71L_15 01 "1.111(145 lFlB4lU ll'l 495_{:144`011\14- E_S' UE_Tln__E_!_Cl LH_'|§jBF RESi"i:\, 71.791`1:1491_ __51'197l1._99C0UB7[ __4710 E_GFT`GW_EI' TC|_F.141419::

1 excess funds in accordance with RESF'A. l_f_ there is a shortage 011E_11nri hel_ci
-`-`Lo_ndsr_ shall notify Bo_1_row_era_s_ required l`o_y_ RE_§PA` and Bo1_ro1`11e'1 sh§l| p§_y lc~;_

 

 

 

 
 
 
    

 

   

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'. _an\._'__. and Cornmunity Assnc|arinn Diias-_ Faas_ and Assas.smanis__ lfarly -'l'n the extentthat_ these items am l=s.crriw items ='
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._:_Orlg _435_ _Bi:lr'rpwer_' 145 performing euc'n agreement (b) contests th__e lien 14n good faith by cir defends against enforcement
_ of the lien ln- legal proceedings _w_hlc_h in _L_end_e_r’s opinion operate to pregent the enforcement of the lien whi le_ those`ff .

   

            
  

 

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Therefore such coverage shall cover Lon_del'__ but might or might not protect Bcrrow_er Borrcwer"s equity in the Property
- or the contents _'o_f the Propelty'h agains: anyr risk hazard or liabillty and n~ight provide gl_'eatar_ or lesser coverage fharl

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as .the work rs completed ii fha insurance or condemnation proceeds are _n_ot sui°|“ioien: io repair or restore ih__e ___Pro__pert_y,

     

 
  
 

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do and pav io_r Whai;e\fe__r` s reasonable or appropriate to protect _ ehdere interest iri ihs F!roperty and rigi‘iis under this

 

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authorized under- this Seoion 79

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` up doors anci windows orain water _r'rom __p`ipe_s. eliminate building or other code violations or dangerous conditions and
'iiave u‘riiiiies_- l1urr_1ad `or`i or oii. `Ai'r'noug'n i_e`no`er may iai<__e ac_t_i_ori undert'riis __Section 97 i_er.dsr does not have to o`o so and -

i`s not under __any_ duty_ o'r obligation ___l.o do so. i_ is agreed trial l_enoier-' incurs _no _lia_l)_i_litv_ _fo_r not taking any or _al_l actions 1

    
 
 

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“si'iall not without lhe. express written consent Of Lender. alter or amend the- ground ie`as`e;- li Bdrrowei acquires fee title

" .lo iho P_roperiy the leasehold end the fee title sha;l. not merge unless Lenc_l_er agrees to the merger _in w__ri-. ing-__

    

_'f[,l_ Mn.l"!_rl=_rl_o l_ry:l_ll‘apr»o_ l‘Fl on._~!or roqlilrorl l\!::_rl'ri_o_¢__r,ic:___;_ lrml_ rcnm:`» on o `r\nnrlil-inn n- _n-i`:aD-ii~rl_- +_l-ml non Dnrrm¢.__re_

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for t_h_e period that Lender requi_res) provided by an_ insurer selected _b_y Lender again beo_ome_s_ aveilal;)le_, is ____o`oiained_,-

 

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zina__y require thel mertgage in nsur'er to make payments using _a_ny sdurr:e sf funds that the monge
7__ available _(whic_:h rhay include funds obtained from iviortgage insurance premiums} 7`_77_ 7 _ _ _ -_
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iléiure i'rle partial taking _d_esir_uctio_n_ or ioss i_n value divided bar lb_`l the rair market value or` the Prop_e`rry imr_ned_iale__l_v
"befcire the partial taking destruction or ioss' in value Anv balance shall be paid to Eiorrcwer. ' ' '
fn ._ihe event cit a partial taking, _es`tru`ctidn_ er Eos`s in value __o_t the P_reper_ty in __w'riic_h th__e_ _fair_ ina arket value _dt the-
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' _i'T the"` ij'rljpe"iv is abandoned by Bnrrnwer_, _Or iT, a_t't_el_' _nO’L_l'__O_s b_v_ i_e_rlc_ier-: to Bot’rcwer that the Uhpglsihgl l-‘artV las de- "

fined in the ne__xt_ s_entence) alters to mahé a_n avvard to settle a c|d_im fordarnag_es, Eorrower fails to respond _to Lender

  
 
 
  

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-: either m mc't~nr:>t'ir\`n nr ing-moir »-iF ll-¢`:i Drr-mn.rhi mr in linn min-in ni-wi rm-l. l-\u " . __ _________________ __ ___
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“i._..\._. “.» \._»`ui~.-_u\vir v ivyuui ..n u \., ¢ »\.r'.~_ui\] ui_ tv _i.iic.- .:»_\.uii.: _qc\.ui=u __in

r'llll3 _~nnnn¢:l'\i"t P:t['l'\i’_ _g*r\_:\:ir!s I_l'_\c\_ ll’iiri‘l hmrl\) +l'\:+ n\_l._.'o= Rnrrinu_;or _

ii 7 ormwer has a right ot action in -,gard 10` ivltso`ellaneous P'oceeds. _
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j under this Secdritjr instrument Bi`)rrower can cure such a defeu_' tend if acceleration _h_a_s_ occurred reinstate as provided .
__ln____ S_ection 19 _b}_.' Cat.s_ir_l_g the action er pr_i)ceed_ihg to be dismissed with a_ mian that in Lendi_ar' s iud_gmerit _precl!,i_d_es

 
     

 

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7i7n ina _“i-"m_party are hereby assigned and shall ne paid 10_ tender

    

'i:irovided for in Sectidn _2

   

   
 

 
  
  

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%)C'l§'EFlG 'l|'l"|E_ TGl'_' p&yl'i"|€l'i[ Ol' Ofllei’WlSE mUCllTy ai'_l'lOl'l`!ZEIlO___ Ol' _Il_'lE SUmS_ ___S_E*_CUI‘BC\- _l_J}¢" lll__
.O.' ai_h_y ne__mai'll;_i_ made D j='l'rle Ol'igin__éli EOl'rClWer Di'al`iy SuCBE._'sSO`rS iri interest Or B_ol_'rower-. .f=irly forbearance in i__EnU'er in

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exercising anyl rightnr remedy inciudir'ig, without|imitatic',n t__`en_der s acceptance of pavmente frcm third persons entities _i-

' _ OrS_u_¢;ces_:_icrs_ l_n interest cf B_Q_rrqwer sr in amounts less then '.7he amount then due shall nc_it` be a waiver el or preclude

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7 site lies inc_- .. _ 'i:': _:'i: P'agee gifts

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_13. .lnlnf' and -Sev?rai l iahi l\r‘ Cg- signprq Fillr:r~pql:rir=i. n_nrl 1551_eir:n_5 'Rn[i__ri_ri_ Br_l_r_r i_ii_lgr i'_:i;i\_ren:rit_ sir1rl _n_réng ' "

     

   

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12. Bcirrq\_iver_- N`ot Re|eassd; n Forbeai'ance. By Lerider_ Not a Waiver. Exter'ision of the time for p_ayrnent_ d_r modifi-

C_l,lrity instrument by rea§_i_t)n .

sat B_cv_rr:i‘._vers obligations and liability shall _l_:ejoi__nt and several Howev'e`r any Borrower-whe cb- signs this Securlty - -

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;. _ ally obligated to- pay the sLms secured b_y`- this Securi_t_v lnstrJrnent_; and {_c) agrees that L`erider_ and any other E|orrower

 

` n__r he' _l\.lrJlo l'uilh_ni lt finn nn-qinnnr

'can agree to extend r_n_o`dlf_v, forbear or make any accommo'dat"ons with regard to the terms ofthis Secun'ty instrument

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von ~.¢i-_o- w vam_i q ~.~ _._-15

_._J__7_ ___.1 1_,_. ._, _____ ____ ._- ._ -,,.-..`~..».. .__ ___.

under ___ll'iis Sacu_r_‘_|ty ln_strumer_"itl in wr7l1l_1_'1_q7 __an_d_ 357 approved by. L_ien¢_:ler.- aha||- obt_a_in al_| of Bori_'owe_r’ _s rights a__ncl behefi_ts 5: ` `:

 

 

 

 

 

 

 

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.est o_r_ other loan charges collected 01" to be co|iected 111 connection with the _Loan_ exceed the permitted limits then:( _(a) _ _

 

   

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` 57h_a|i bind {ei<_c_ept aa provided ir'_i _E:`gei:_t__ion 2_0) a_n_`d b&_71nefit_ the successors and aaaigns_7 or Lendar.-_ __. . .::.:

 

  

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anv surn_s alri_=,_\adv _i:oltected fror`ri. Bo`rrowar wh ch` exceeded permitted limits will be refunded to Borroi.ve`r Lencler mav " "

  
  

`:`choo‘se to make this refund by reducing the principal owed under the Note or by makian a` direct 7pay7r7nen_t to Borrower

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Borrowers change of address then Bor`rower shall only report a change pt address through__tha_t speciied_proceciure.
The_re r_nav be only one desigrate d_ notice address under this-Sat_:urity instrument at 'arv _ene tlme. `Anv notice to l__`ence`r"

    
  

 

  

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"1b.G°Vel’nlnCl LE:`I.W' S&VBi'Bhlll‘[V§ l'{LIlES. Df- CO|'|S!}'L|ET|O}'|. l l"llS SECU]_'H.'V ll’iS?l'l..lmEl'\lf BhBEl lJ_@ gQVQi”r_'iECl _b\! federal _
law and the law of_ the _iuris_dicti'on_` in __which__ the Pro_pert_v _is tocated All rights and obii nations contained in this Sec`urlty

" instrument are sublectto any requirements and limitat|ons 0.73 __App|icab|e _La_w- App__li_cable _Law might explicitly or implicitly

  

 

 

 

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am.='ai-c..-.i 1-.., h.-.,-.rmr.- in tim guam +1~ 1-»,.~.. v.-moi=».,m N.' ._1.5 155 ,.r 11.1,_ `QE,..,'..:),\, ihr.i`». ._.,-_.`a ..... am 13b-an :.....§ni,.i,. ...:11..'
...H.W.,.t_._... ..__,_ 551._5_5.._..____1.. ..1_5 5~5..._1..=.. 5_._1, ciov.a.o.. w _c._c.__t..,e oi_ t...._= 5_.._._..5..1,...15..5.1.5... w me nom __W....M.= .v....

"'Ap`p|icab|e Laim Si.i¢`r_'i 00nfli0t Sha|l nol affeotlother provisions of this Securi`tv instrumen or the Note which can be given

effect without the conflicting provision
As used _in_ this 'Seci`ir`ity_ _lnstrurnen ai__ words of the masc_iiiine gender _sn__a_ll mean and nciude_ corresponding hether -j

 

-:worde or words ofthe feminine gender; (b`i ivorda' in the sindu|ar shall inean` and inoiude the plural and vice versa: and

__(c) the wo_r_d _7_”rr_iay“' gives soto discretion without any obligation to take any action

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¢'t'ne transrer 01 rice bv Eoi'row`erat afuiure date to a purchaser _ __ _ _ __ __ _ _ _ __
:lf all or any part of the Propert`y or- anyl lnterest in the Prooerty`is sold o`r"transterred for if E>ori'ower is not a natural

i.pers_on and a beneficial interest in Borrower is sold 01 transferred) without Lender’s pror written 700055_111, bender r__nay`

,"t L._. +1.».:»` C~_». ..lr~. l»_l.. .._.A._i» Ll._ .
7 7 _uc __uiii.y'_ 111.:\_._17 11 . ii_urv

    

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iii l"ll§,`il.lESSIhEll'l 3U days ifUl'l'l meder lil’!_E l'iC\`lZlC€ lS given i|'i ECCBf'dBnDE Wlll'| SECI|O[:'| 'lb `Wllfhll'i Wl'llCl’l ECH’|'OVJEI' rl'l.L_lST piy_ la
_iall s"unts`secu`red b`v this“ Se`cu`rity instrument lt Eorrower fails to pay these sums'pr':or to the expiration of this period
i_ender may invoke any remedies permitted by this Securi_ty ins trurrem wi' hcut fui“-;her_ notice ordemand on Borrower.

 

;or .(c} entry of _a iudoment enforcing this Securitv
inetrurrie__' 1 no se conditions are inai_ B_orro_wei';_ (a) pays Lender ali sums which then would be due underi'nie 5500 my
instrument and the Note as if no acceleration had occurred; fbi cures any detauit ofanv other covenants oregreernerite;
-{B_)_peys all expenses incurred-in enforcing this Seci`irity instrument including ;but- not-limited to reasonable attorneys

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lvvo_ pi upuuyl io'.;v\.¢u~.ni 541 1\.1 \¢'ulur.mun 1\,».,5 un\.¢ uu 1».,1 ivvo 111~_.1.,111.\,\.11\11 u v puipu\-.u_, vi ptui\.:uu w 1_\.-.»11_\.1\_»1 o 111“.»1\;$.11 111

 

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"upon an institution whose deposi_ s are insured by a federal agency lnstrurr‘;enlal|ty of entity: cr (d)_ Electronic _l_-'tincls
-|-rahster. Llpon reinstatement by Bl;rmwer. this 3 .
.el'fEC’EVe 515 7ifl'_t:l7 acceleration had OCCl.trl'ed.HoWeV@r_1lll3_7_ric71h1_7 10 reinstate s__ha1! 1101 _arl_rllv i_rl the case 01 a_r_`.r_:e_|er,;-itj@n_
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23. Sale- of 1470 __1; l`~l'ui.ice_ ¢_.lr G_r__ieva__nce.__ `_l`_'i __1`.'_0 czoi a par rliai ir'. tere73't iri. 'lhe. 1" oie llo-
nm+l~n»lnll~l~{ ........... Lr_l._ .Lh_ ._ ....`4:.... 4,. rs.\_ '_|:_1_' .___
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in a change in the entity (known as the ;‘Loan Se_rvicer")_ that collects Pe_riodic. Payrnenl_;s due under the N_cit cte and this
Secuilty instrument and performs other mortgage loan servicir'g`= obligations under the Note_ this __Securityl nstrument.
and 'A'_Elplicable Law there also might he c_)__ne 'r_)_r _r_ri_o;re chances r_)t_" the |_ n.§l__n_ Sr-z_rvir~e.': i_i_n_l_*p.: .:iter_l tn 13 sale nf the Nn:i;i_ if

   

there ls a change of -the'-' l osh Se`r`vi_cer Elorrowerwill be given written notice ot the change which wl ll state the name and..

address ofthe- new l_'oan Servlcer the aodress to_ which payments should be made end any other intorl'nallon RE_SF"A _

nt_' w....l$“,.».,\+:.\.` L‘l__ nr_ .~- __l.l ____lil__ u__ __._

lm.lu i7G'_S li l _\_'] 1_1§7 iq_i ilviti_-i cil il\.rtl\.,l_:=_ ul Ll£ll"l$t_i'$l'- Gl Stlsi‘v'lcll"lg_:___ ll tll*.: l‘l_Cl:" lb t:U|U __ _ __ tl____ld l-Cldll lS 5€[_¥lC'~E_U l._ly:_'§_
l non Q=ml,~o¢ Ml¢ml- `lm.-. ll-'m n'.i.-.-l~-,¢.,.-Grl-l-\.». ltl.~l.~ .ll-..~. i,-.~.-\-,..-..-t-.l.~ " ' " ' '
-_,.".... v-. l.-.~ v7 \.»17».......0.\., rmi t... 1...01, . u.u _uu“;‘ rim _l"`iiC-i t_§ug_l;__ iuuil_al;i 1101

  

the Loe__n S_ r_vic__e_ or b_e transferred to a successor l_oari Se_ryicer_ and re hot assume 77_by t e Note purchaser unless `
“. ctli`l2rwise pr`ovlded by the Note purchase_r. . __ - -1 " :` ' g
' N`eltni=_.\r Eorrot'rer nor l...el'lct`el' may Comr‘nérlcet _10171_1.01 be wired to any iudl_c:ial action las either ar'_i. indiviltl al |Eti_- 11-

__ gant_ or_ the member of a _c7l`as`s] lh_at arises _frorrl me o_ther p_arty’s __a_ct_ic__ns pursuant to _lhis Seci_.irity` |nst_rument or that

 
   

 

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____of -E-`ectio_h 15) f'\.F sec.. ell-1 _ged rea:. rand a'.cr ed tl'_le other_`ca..y. herc_tc o roesc.“.chlc period efte-r'the gi 'i. 'lg`o__
notice to take corrective acti_o`n.` l_f_Applica_'ol_e l_aw provices a time period which n_1___ust _e_l_e_pse before certain actlon earl

1 .i:e taken hat tim`e period Will be deemed to. t:e reasonable tor purnr)s_e_s 01‘_ this paragraphs The notice of acceleration
-i'a_n_d opportunity t_o_ cure _qi_v_en to Borrower pursuant to Se_c:tioh 2_2 and the _notice' of acceleration qi_ven _t_o Bo_rrow_er. =

 

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theltirisclictio'l Where_ the Pro_l`)e_i'ty i_s _|oct_l__ted that relate 170 health. safety o_r eriyironmenta|_ orot_et_)tioh; l_c)_ “Erl_ ro_nr_nental

 

 
 
 

    

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Borrcwe_r shall not cause or permit the presence,_ lis`e_ dlsposal storage cr release _of any_ l_-lazarclous So_bstehce's_ -

ii Or threaten to release any Hazardous _SLl`D_Sta_"lt_:es, Or. 0_1'_ ln_ the l-’ro_perfy Borrow_er shall not do',' rior allow anyone else 10

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"Condltiori. o_r__ [c 7)_ Which_; due t'o_ _t_he presenoe," usa or release of a Haza_rcc_us Su.:lslar_ice, creates a condition that _at_t-__
-- versely affects the value ofthe Prcpedy. Trie- pr_ecedlng 1110 sentences shall not apply 107 the presence use, cr storage

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vii - -\.»~l.» wl ur iil.m gunn still \.¢ ul liu-n..r.\i wu»»i.: vl.l coulr\.»\,a \liat al cl 16 cl

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1 rs eoiai actions in accordance vi._ri_th anironrnentai _LaW. _i\lot_hl_ng herein shall create any onilgauon on tel-tier for a '

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` default must; t`le c`l.ire`l:l'; _`a`nd (d_} that failure to cure the default on or nature the date specified in the notice may

‘ result in acceleration of the sums secured by this Sec_urity lnstrumenl:-, foreclosure by _jui_:li__c:ial proceeding _a_l`ld

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_c_o|lal:t allexpe_n$e_s incurred irl pursuing the remedies p_ro_vided_` in this Secti'_l:ln 272 includi 7g, but not limited to

reasonable attorneys’ fees and costs of title _e`videni:e. .
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Case 17-11452-reg Doc 21 Filed 03/29/18 Page 15 §§§_8;°80157

APRIL WHETSTONE
WHITLEY COUN'I'Y RECORDER
coLUMBIA CITY, 1”

$ ZS.OOTX: 4004743
08/°7/2017 2:57:19 PM

"‘* *Send All Noticcs to Assignec* **

RECORDI'NG R.EQUESTED BY:
WELLS FARGO BANK, N.A.
MICHELLE L CHRIST

AND WHEN RECORDED MAIL TO:
WEI_.LS FARGO BANK, N.A.
ASSIGNMENT TEAM

MAC: N9289-016

PO BOX 1629

EAGAN, MN 55121-4400

Parcel Identii'icr No:

ASSlGNMENT OF MORTGAGE
ws_
MERS Phone #: 888-679-6377

For good and valuable consideration, the sufficiency of` which is hereby acknowledged, MORTGAGE
ELECTRONIC REGIS'I'RAT|ON SYSTEMS, lNC., AS NOMINEE FOR RUOFF MORTGAGE COMPANY,
INCORPORATED, lTS SUCCESSORS AND ASSIGNS , P.O. BOX 2026 , FI_.IN'|“‘, Ml 48501-2026 , by these
presents does convey, assign, transfer and set over to: WELI..S FARGO BANK, N. A. ,1 H()ME CAMPUS, DES
MOINES, lA 50328, the described Mortgage, with all interest, all liens, and any rights due or to become due thereon.
Said Mortgage for $71 428. 00 is recorded in the State of INDIANA, County of Whltley Of`ficial Records. dated
01/22./2014 and recorded on 01/28/2014 as Instrument No. 2014010346.

On'giml Mongagor: KYLE EDWAR.D SLATER.

Original Mortgagee: MORTGAGE ELECTRONIC REGISTRAT!ON SYSTEMS, INC., AS NOM[NEE FOR
RUOFF MORTGAGE COMPANY, INCORPORATED, lTS SUCCESSORS AND ASSIGNS

Propcrty Address: 403 E lS'l' ST SOUTl-l WHlTLEY, IN 46787-‘1302.

MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC' ls at 1901 E Voorhecs Strcct, Suitc C, Danvillc, [L
61834, P O. BOX 2026, FLINT, MI 43501- 2026

I affirm, under the penalties for perjury, that I have taken reasonable care to redact each Socia| Security number in this
document

IN WI'I'NESS WHER.EOF, the undersigned Assignor has executed this Assignment of Mortgage on 08/07/2017

MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., AS NOMINEE FOR RUOFF
MORTGAGE COMPANY, INCORPORATED, ITS SUCCESSORS AND ASSIGNS

JASON MlCHAEL NIELI`NG, Assistant Sccretary

sTATE 01= MN 3
COUNTY or Dakow } 3

On 08/07/2017 , before me THOMAS SUTSADA SANANIKONE , Notary Public, personally appeared JASON
MICHAEL NlELING , Ass|stant Secretary of MORTGAGE ELECTRONIC REGISTRAT|ON SYSTEMS,
INC., AS NOMINEE FOR RUOFF MOR'I‘GAGE COMPANY, INCORPORATED, lTS SUCCESSORS AND
ASSIGNS personally known to me (or proved to me on the basis of satisfactory evidence), co be the person whose name
is subscribed to the within distnu'ncnt and acknowledged to me that he/she executed the same in his/her authorized
capacity, and that by his/her signature on the instrument, the person or entity upon behalf of which the person acted,
executed the instrument

Witness my hand and official scal.

THOMAS SUTSADA SANANIKONE, Notary Public

Commission #: 310465 16
My Commission Expires: 0 113 1/2021

 

 

sherwood

WHlTLEY COU'N'I°Y RECORDER DOC #: 2017080151 PAGE 1 OF l

Case 17-11452-reg Doc 21 1 Filed 03/29/18 Pa_
MlN:l

a , NoTE
January 22, 2014' § ' FORT WA¥NE', indiana
‘[Date] {city] [siate]
403 E ist St. South Whitley, |N 46787-1302
[Property Address]
»1. BORROWER’S PROM|SE TO PAY
|n return for a loan that l have receivedl | promise to pay U.S. $71,428.00 l(this amount is called “Principal"),

pluso interest, to the order of the Lender. The Lender is Ruoff Martgage Company, lnc., a indiana Corporatlon.

l will make all payments under this Note ln the-form of cash, check or money order.

l understand that the~Lender may transfer this ’Note`; T_he Lende_r or anyone who takes thls,Not_e by~transfe{ and who
ls entitled to receive payments under this Noteis called the “Note l-lo|der,"`

2. iNrEREsT

interest will be charged On unpaid principal until the full amount of Principa| has been paid. l will pay interest at a
yearly rate of, 4.500 %`.

vThe interest rate required by this-Section 2 is the rate_| will pay‘both before and after any defaultdescribed in Section
iG(B) of this‘Note.` -

3.» PAYMENTS

(A) Tlme and Place of Payments
l will pay principal and interest by making a payment every months

| will make my monthly payment on the 1ST day of each month beginning on March 1, 2014.
l will make these payments every month until l have paid a_ll of the principa|`and interest and any other charges described
below that l may owe under this Note. Each monthly payment will be applied as of its scheduled duekdate and will be
applied to interest before Principal; lf, on Februery 1, 2044, _ l still owe amounts underthis Note, l will
pay those amounts in`fu|l on that date, which is.cal|ed the_“l\/laturity Dat_e_."`

| will make my monthly payments at 921 E. Dupont Rd, Ste 926
Forl: Wayne, lN 46825

or at a different place if required by the Note Hoider.

(B) Amount`of Monthly Payments
My monthly payment will be in the amountof U.S. $381.92.

42 BORROWER’S R|GHT TO'PREPAY

l have the right"to make payments of Principal`at any time before they are d'ue. A payment of Principa| only is known
`as a “Prepayment." When | make a Prepayment, l will tell the Note l-lolder in writing that l am doing so. | may not designate
~a payment as a Prepaym'ent if| have not made all the monthly payments due under the Note.

l may make a full Prepayrnent or partial Prepayments without paying a Prepayment charge. The Note Ho|der will
use my Prepeyments`to reduce the amount of Principa| that | owe under this Note. However, the Note Holder` may apply
rn_y Prepayment`to’the accrued and unpaid interest on the »Prepayrnent amount~, before applying my Prepayment to
reduce the Prlncipa| amount ofthe NoteA lt | make a partial Prepaymeni;.there will be no changes in the_due date or in'
th)eiamount of my monthly payment unless the Note Hotd_er'agrees‘in writing to those changes

5'. LOAN CHARGES

|f a |aw, which applies to this loan and which sets maximum loan chargesy is finally interpreted so that the interest
or other loan charges collected cr to be collected in connection with this loan exceed the permitted |imits, vthen: (a) any
such loan charge'sha|| be reduced by the amount necessary to reduce the charge to the permitted limit; Wny

‘ initiate ___L_.
yl\mJLTlSTl\TE leEo RATE\NoTE-Single Family-Fannla Mae/Ereddie Mac uNlFoRM leT_RuMENT Form 3200 1101 g
E|lie Mae, |nc. Page 1 Of 3 ‘ -F3200NOT 0107

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01/'21/2014 01:16 PM PST

 

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‘ l L<)AN # _
sums already collected from me which exceeded permitted limits will be refunded to me. The Note Holder may choose
to make this refund by reducing the Principal l owe under this Note or by making a direct payment to me. if a refund
reduces Principai, the reduction will be treated as a partial Prepayment.

6. BORROWER‘S FA\LURE TO PAY AS REQU\RED

(A) Lal:e Charge for Overdue Payments

if the Note Holder has notl received the full amount of any monthly payment by the end of 1_5 calendar
days after the date it is due, l will pay a late charge to the Note Holder. ~'|'he amount of the charge will be 4 000 %
’of my overdue payment of principal and interest | will pay;this late charge promptly but only once on each late payment

(B) Default .
if l do not pay the fuii amount of each monthly payment on the date it is due; l will be in default

(C) Notice of Default

lfl arn in default the Note Holder may send me a written notice telling me that ifl do not pay the overdue amount
by a certain daie, the Note Holder may require me to pay immediately the full amount of Principa| Which has not been
paid and all the interest that l owe on that amount. That date must be at least 30 days after the date on which the notice
is mailed to me or delivered by..dther means

(D) No Waiver Ey Note Holder
Even if at a time when l amin default the Note Holder does not require me to pay immediately in full as described
above, the Note Holder will still have the right to do so if l am in default at a later time.

(E) Payment of Note Holder’s Costs and Expenses

lfthe Note Holder has required me to pay immediately in full as described above, the Note Holderwl|l have the right
to be paid back'by me for all offits costs and expenses in enforcing this Note to the extent not‘prohibited by applicable
law. Those expenses inciude,- for example reasonable attorneys’ lees.

7. GIVING OF NOT|CES

Uniess applicable law requires a different method, any notice that must be given to me under this Note will be given
by delivering it or by mailing it by first class mail to me at the,Prcperty Address above or at a different address if l give
:the{Note Holder a notice of my different address

.Any notice that must be given to the Note Holder under this Note will be given by‘de|ivering it or by mailing it by first
class mail to the Note Holder,at the address stated in Section S(A) above or at a different address iii am given a notice
of t_hatrdlfferent address

B. OBL|GATiONS OF PERSONS UNDER TH|S NOTE

if more than Or\e. person signs,this Note. each person is fully and personaiiy_obligated to keep all of the promises
made in this Note. including the promise to pay the full amount owed Any person whole a guarantor. surety or endorser
of this Note is also obligated tc do_these things. Ahy person who takes over these obligations including the obligations
of a,guarantor, surety or endorser of this Note, is a`iso‘obligated to keep all of'the promises made in this Note, The Note
Holder may enforce its rights under this Note against each person individually or against all of us together This means
that any one of us may be required to pay all of the amounts owed under this Note.

9. WAiVERS

land any other person who has obligations underthis Note waive the rights ofPresentment and Notice of Dishonor.
"Presentment" means the right to.require the Note Holder\to'demand payment of amounts due. "Notice of Dishonor"
means the right to require the Note Holder.to give notice to other persons that`amounts due have not been paid.

10_. _uNlFoRivi sEcuREo wore

This Note is a uniform instrument with limited variations in some jurisdictions in addition to the protections given to
the_th`e Holder under this Note, a Mortgage, Deed ofTrust, or Security Deed (the ‘~'Security lnstrument"), dated the same
date as this Note, protects the Note Holder from possible losses which might.resuit if l do not keep the promises
which l make in this Note That Security instrument describes how and under what. conditions l may be required to
make immediate payment in full of ali amounts l owe under this Note Sorne of those conditions are described as
follows:

if aliior any part of the Property or any interest in the`Property is sold or transferred (or if Borrower is not a
natuiai person and a beneficial interest in Borrower is sold or transferred) without Lender`s prior written consent,
Lender may require immediate payment in full of all sums secured by this Securlty' instrument However, this
option shall not be exercised by Lender if such exercise is prohibited by Appiicab|e l..aw.

if Lender exercises this option, |_ender shai| give Borrower notice of acceleration The notice shall provide
a period of not less than 30 days frornthe date the notice is given in accordance with Section iB'within §hich

initia|s:
MUL_T|STATE FIXED RATE NOTE- -Single Fam`l|y-Fannlo MBeiFreddle Mac UN|FORM iNSTRUMENT Form 32001/01
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` ` ` ` LOAN#_

Borrower must pay a|| sums secured*by this Security instrument |f Borrowerfai|s‘to pay these sums prior to the
expiration of this period, i_ender may invoke any remedies permitted by this Security instrument without further
notice or der"n`and on Borrower.

YOU A'RE NOT OBL|GATED TC PA¥ ANY`MGNEY UNLESS YOU S\GN TH|S CONTRACT AND RETURN \T T,O
THE SELLER/LENDER.

WiTNES_slT_'_HE,_HAN)D(S)`AND SEAL(S)~QF THE UNpERSiGNED;

    

%z:» /%/zz'-

YLE EDWARD ST.ATER _DATE

Lender: Ruoff`Mor‘tgage Company, 1nc.
NMLS lD: 141_868.

Loan Originator: Yo|anda Snovar
NMLS ID: 203158

' r/

wEL'i;s FARGO BANK:.NA

 

 

PA¥ TO THE ORDER OF:
W|THOUT REC)OURSE
Ruoff Martgag o any, Inc.. a |ndiana Cor rail
WlTHOU¥ RECOURSE
Bth 7 ' PAvroTHanoEF\oF
r t/ '
wEu.s FAn K. mt

Sharon S. Baron
TiTLE: =

 

 

BY
SAMU'EL C. SHELLEV. SEW\OR PRES\UE"T
Assistant Vice Presi"dent, 0153

Ruoff |Viortgage Company lncorporated,

An indiana Corporation rsign original Only]

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